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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS ' __ fj_

UNITED sTATEs oF AMERICA Cnmma] NO‘ 18`€R`3-@5\_'MGM

Violation(s):
v.
Counts One through Four: Deprivation
of Rights Under Color of Law

(l) GREGG A. BIGDA and (13 U_S_C_ § 242)

(2) STEVEN M. VIGNEAULT

Count Five: False Report

Defendants (13 U.s.C. § 1519)

INDICTMENT
COUNT ONE
Deprivation of Rights Under Color of Law (EXcessive Force)
(18 U.S.C. §242)
The Grand Jury charges that:
On or about February 27, 2016, in Hampden County, in the Distiict of Massachusetts, the

defendant,

(1) GREGG A. BIGDA,

while acting under color of law, Willfully deprived juvenile arrestee E.P. of the right, secured and
protected by the Constitution and laws of the United States, to be free from unreasonable seizures,
Whioh includes the right to be free from the use of unreasonable force by a law enforcement oft`leer.
The offense resulted in bodily injury to E.P. and involved the use of a dangerous weapon

All in violation of Title 18, United States Code, Section 242.

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COUNT TWO
Deprivation of Rights Under Color of Law (Excessive Force)
(18 U.s.C. §242)
The Grand Jury further charges that:
On or about February 27, 2016, in Hampden County, in the District of Massacliusetts, the

defendant,

(2) sTEvEN M. viGNEAULT,

While acting under color of law, willfully deprived juvenile arrestee D.R. of the ri ght, secured and
protected by the Constitution and laws of the United States, to be free from unreasonable seizures,
Wliich includes the right to be free from the use of unreasonable force by a law enforcement ofticer.
The offense resulted in bodily injury to D.R. and involved the use of a dangerous Weapon.

All in violation of Title lS, United States Code, Section 242.

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COUNT THREE
Deprivati on of Rights Under Color of Law (Abusive Interrogation)
(lS U.S.C. § 242)
The Grand Jury further charges that:
011 or about February 27, 2016, in Harnpden County, in the District of Massachusetts, the

defendant,

(l) GREGG A. BIGDA,

while acting under color of law, willhilly deprived juvenile arrestee D.R. of the right, secured and
protected by the Constitution and laws of the United States, to be free from deprivation of liberty
without due process of law, which includes the right to be free from police interrogation so abusive
that it shocks the conscience Specifically, within hours of the assaults on E.P. and D.R. charged
in Counts One and Two, Defendant BlGDA interrogated juvenile arrestee D.R. outside the
presence of his parents and without reading him Miranda warnings During that interrogation,
Defendant BIGDA threatened to, among other things, “crush [D.R.’s] skull and fucking get away
with it”; “fucking bring the dog back [and] let him fucking go after” D.R.; “tiicking kill [D.R.] in
the parking lot”; “charge [D.R.] with killing Kennedy and fucking make it stick”; “stick a fucking
kilo of coke in [D.R.’s] pocket and put [him] away for hicking 15 years”; and “kick [D.R.] light
in the fucking face as soon as [they] cross the Springfield line.” The offense involved the

threatened use of a dangerous weapon.

All in violation of Title 18, United States Code, Section 242.

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COUNT FOUR
Deprivation of Rights Under Color of Law (Abusive lnterrogation)
(lS U.S.C. § 242)
The Grand Jury further charges that:
On or about February 27, 2016, in Hampden County, in the District of Massachusetts, the

defendant,

(l) GREGG A. BIGDA,

while acting under color of law, willfully deprived juvenile arrestee J.T. of the ri ght, secured and
protected by the Constitution and laws of the United States, to be free from deprivation of liberty
without due process of law, which includes the right to be free from police interrogation so abusive
that it shocks the conscience. Specifically, within hours of the assaults on E.P. and D.R. charged
in Counts One and Two, Defendant BlGDA interrogated j uvenile arrestee J.T. outside the presence
of his parents and without reading him _I\Ma warnings During that interrogation, Defendant
BIGDA threatened to, among other things, “beat the fuck out of [J.T.] when [they] get back to
Springfleld”; “tune [J.T.] the nick up”; and “bloody [J.T.’s] body.” At several points during the
interrogation, Defendant BIGDA pointed to blood on his boot and told J.T. that if he lied to
Defendant BIGDA, J.T.’s blood would be on his boot next

All in violation of Title 13, United States Code, Section 242.

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COUNT FIVE
False Report
(18 U.S.C.§1519)
The Grand Jury further charges that:
On or about May 24, 20l 6, and on or about J'anuary 18, 201?, in Hampden County, in the

District of Massachusetts, the defendant,

(1) GREGG A. BIGDA,

acting in relation to and in contemplation of a matter within the jurisdiction of the United States,
knowingly falsified, covered up, and made false entries in records and documents with the intent
to impede, obstruct, and influence the investigation and proper administration of that matter
Speciiically, Defendant BIGDA wrote and filed two reports with the lnternal Investigations Unit
of the Springfleld Police Departrnent documenting the arrest of juvenile suspects E.P., D.R., and
J.T. on February 2?', 2016. The first report, dated May 24, 2016, stated, in pertinent part: “At no
time did l see any Ofticer kick anyone nor did l kick anyone during any point of these arrests.”
The second report, dated January 18, 201',=', stated, in pertinent part: “In regards to Mr. Vigneault’s
claim that l spit [sic] on an [sic] subject and yelled ‘welcome to the white man’s world,’ this is
also not true. l did not nor did l see anyone spit on anyone nor did l make or here [sic] any such
comments.” Those reports were false, as Defendant BIGDA then well knew, because during the
course of the arrest, Defendant BIGDA kicked juvenile suspect E.P. in the head, spat on him, and
said, “welcome to the white man’s world.”

All in violation of Title 18, United States Code, Section 1519.

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A TRUE BILL

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FOYERSON

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DEEPIKA BAINS SHUKLA
KATHARINE WAGNER

ASSISTANT UNITED STATES ATTORNEYS
DlSTRICT OF MASSACHUSETTS

cHRtsToPtER J. PERRAS
TRrAL ArroRNEY
U.s. DEPARTMENT or JUerca

 

 

District of Massachusetts: October 25, 2018@ la'.lLl' .M ,
Returned into the District Court by the Grand Jurors and filed.

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'r)EPUTY cLERK

